Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 1 of 17



                                  Today’s sections      Past six days     Explore        Times Radio                           My account   Search




                                       CRISIS AMERICA


                                       Trump’s militias say they are
                                       armed and ready to defend their
                                       freedoms
                                       Further violence, and even civil war, is threatened in the final days of
                                       the presidency


      Laura Pullman, Washington


      Sunday January 10 2021,
      12.01am GMT,
      The Sunday Times


        Global politics


        US politics


        Joe Biden




                                       Wednesday’s storming of the Capitol was a ‘warning shot’, said one participant
                                       SAUL LOEB




                                       Share                                                                            Save




                                       The storming of the Capitol by a ragtag bunch of white nationalists, self-styled
                                       militia men and die-hard Donald Trump supporters was a tremor before a
                                       bigger earthquake, claimed geed-up protestors in the wake of the rampage.


                                       “This demonstration was a warning shot from we the people,” said Jay Perez,
                                       who had travelled from New York City for the “stop the steal” march in
                                       Washington last Wednesday.


                                       “It shows that people are awakening, they’re ready to defend America no
                                       matter what the deep state of this country or the world order puppets want. This
                                       is World War Three.”


                                       Last Thursday morning, as metal fencing was hastily erected around the
                                       Capitol and pressured police hunted the perpetrators, conspiracy theorists and
                                       fired-up right-wing fanatics from across the country discussed their “last
                                       chance to save America” in the shadow of the Washington Monument. Many
                                       pledged to return for another pro-Trump march scheduled to coincide with Joe
                                       Biden’s inauguration on January 20, which Trump himself has now vowed to
                                       avoid.


                                       “We wanted to show that we’re willing to rise up, band together and fight if
                                       necessary. Same as our forefathers, who established this country in 1776,” said




         Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 1 of 6 PageID #: 34

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 2 of 17



                         Eric Munchel, who had driven from Nashville, Tennessee, with his mother,
                         Lisa Eisenhart.




                                                                                                Sponsored Content by




                         The pair were among the crowd who flooded the Capitol the previous
                         afternoon but claimed that they left as soon as demonstrators talked about
                         stealing laptops and government papers. Eisenhart stressed to me that they had
                         gone into the building as “observers” – both wore bulletproof vests — and that
                         her son had told her not to touch anything.


                         However, Twitter sleuths quickly worked to determine that it was Munchel
                         who was caught on camera leaping over railings in the senate chamber in full
                         paramilitary gear – in a photograph that quickly went viral.


                         During our conversation, as they packed their car the following day to go
                         home, Munchel claimed that he had left his guns behind in Tennessee due to
                         strict gun laws in Washington but, unsurprisingly, didn’t mention that he had
                         been clutching a handful of plastic zip ties while storming the Capitol. These
                         are the restraints typically used by police to detain individuals, and it’s unclear
                         what Munchel’s intention was with them. The photograph led to speculation
                         that the rioters were potentially planning to take hostages. The riot left five
                         people, including a police officer, dead.


                         “It was a kind of flexing of muscles,” said Munchel, who wore a bulletproof
                         vest and complained that police confiscated his Taser during the riot. “The
                         intentions of going in were not to fight the police. The point of getting inside
                         the building is to show them that we can, and we will.”


                         Preparing for their 10-hour drive home, the 30-year-old clamoured for greater
                         organisation in the next steps to fight against Biden’s America. He worried that
                         many pro-Trump warriors were individualists and lamented that potential
                         leaders in the Make America Great Again (Maga) movement faced difficulty in
                         rallying troops due to banishment from mainstream social media sites. “Our
                         biggest struggle is getting together, knowing where to go, what to do and who
                         to go to,” said Munchel despondently.


                         His mother agreed: “The left has everything: the media, organisations, the
                         government. We have to organise if we’re going to fight back and be heard.”
                         Eisenhart, a nurse, added that a violent revolution has long been on the cards
                         thanks to last year’s racial justice protests, anti-police riots and “unnecessary”
                         coronavirus lockdowns.


                         “This country was founded on revolution. If they’re going to take every
                         legitimate means from us, and we can’t even express ourselves on the internet,
                         we won’t even be able to speak freely, what is America for?” said a teary-eyed
                         Eisenhart, biting into a hotdog. “I’d rather die as a 57-year-old woman than
                         live under oppression. I’d rather die and would rather fight.”




        Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 2 of 6 PageID #: 35

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 3 of 17



                         Political commentators fear that the riot, as well as Republicans distancing
                         themselves from Trump, will have emboldened the Maga movement into
                         further action. Activists have begun promoting an armed march on Capitol Hill
                         and “all state capitols” on January 17.




                         Activists have begun promoting an armed march on Capitol Hill on January 17
                         STEPHANIE KEITH




                         “Over two hundred years ago, our founding fathers fought for the rights and
                         liberties of this nation. Don’t let their efforts be in vain. Demand freedom. End
                         the corruption,” reads the poster. The small print suggests attendees “come
                         armed at your personal discretion”.


                         Meanwhile, other Trump loyalists last week were claiming, without evidence,
                         that left-wing antifa (anti-fascist) hooligans had purposefully disguised
                         themselves in Trump merchandise before violently overrunning the Capitol.


                         “Antifa stormed the Capitol to make us look bad and it just pisses me off,” said
                         Londa Gatt, a member of Bikers for Trump who had travelled from Michigan
                         and was puzzlingly optimistic that Biden, 78, would not be taking power later
                         this month.


                         “The hopes, and what I feel in my heart, is that the military is going to arrest
                         these all traitors that committed treason and that Trump is going to take office,”
                         she said. “I’m not even one bit concerned.”


                         By Thursday evening, facing international criticism and suffering mounting
                         resignations, Trump finally condemned the attack on the “seat of American
                         democracy” in a video posted on Twitter. For critics, it was a hollow “hostage”
                         video that he was forced to make in a bid to avoid a second impeachment. For
                         some staunch supporters, however, it was a staggering betrayal.


                         “Wow, what an absolute punch in the gut,” read one post on TheDonald, a
                         forum where the president’s devotees have plotted how to keep their man in
                         power. “He says it’s going to be wild, and when it gets wild, he calls it a
                         heinous attack and middle-fingers his supporters that he told to be there.
                         Unbelievable.”




        Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 3 of 6 PageID #: 36

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 4 of 17



                         “People were willing to die for this man and he just threw them all under the
                         bus. That’s the only thing that’s shameful about the events of the past 36
                         hours,” Nicholas Fuentes, a far-right commentator, wrote to his 133,347
                         followers on Twitter. “I’m sure the usual suspects suggested that this was a
                         good idea, I hope Trump reverses course, for our sake.”


                         More troubling is the fervent Maga fanbase plotting to return to Washington
                         for Biden’s swearing-in. In dark corners of the web, militants are promoting the
                         “Million Militia March”.




                         One Capitol invader carried plastic zip ties, suggesting a plan to take hostages


                         Many loitering outside the Capitol last week viewed this as an exciting
                         prospect. “Either they give up the fraudulent election they had or America
                         mobilises,” said Travis Wright, who drove 24 hours from Denver, Colorado, to
                         protest last week. “I’ll be here for [the inauguration] one way or the other,
                         whether it’s to see my president, 45th president Donald J Trump, take that
                         stand, or whether it’s to stand against the fake Joe Biden.”


                         Wright, who sells knives and axes for a living, talked about burning America
                         down “to build it back better”, and predicted further violence. “You’ll finally
                         see the Trump supporters truly take a stand and take it to the streets. People
                         want to sit there and call riots therapeutic for Black Lives Matter and antifa.
                         We’ll start calling it therapeutic for us because it’ll be us getting our anger out
                         at that point.”


                         Some Trump supporters expressed fear about the prospect of a “civil war
                         where you’re shooting your brothers, your family”, while others just seemed
                         excited at the idea of more violent uprisings.


                         “January 20 should be interesting. Let’s see what happens, but it will be more
                         history, I guess,” said a man with a tattoo of a knuckle duster and a symbol of
                         3%, which relates to a militia group named after the disputed claim that only
                         3% of American colonists took up arms against Great Britain in the American
                         War of Independence.


                         As the final countdown to a new presidency begins, investigators scrambled to
                         track down the Capitol raiders, many of whom quickly escaped Washington on
                         Thursday. Prominent among them was Jake Angeli, an Arizonian who calls



        Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 4 of 6 PageID #: 37

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 5 of 17



                         himself Yellowstone Wolf and champions QAnon, a conspiracy theory that a
                         paedophile cult runs a deep-state plot. Extraordinary photographs of Angeli,
                         bare-chested, heavily tattooed and wearing a fur hat with buffalo horns as he
                         broke into the Capitol, quickly spread across the world.


                         “The fact that we had a bunch of our traitors in office hunker down, put on
                         their gas masks and retreat into their underground bunker, I consider that a
                         win,” Angeli, 32, told NBC News as he fled Washington by car on Thursday.


                         The police are also seeking Jon Schaffer, a guitarist with Iced Earth, a
                         successful rock band, who was photographed inside the government building.
                         Others were pictured carrying the Confederate flag and wearing clothing with
                         horrifying antisemitic messages.


                         As darkness fell over the Capitol on Thursday, one young self-described
                         “patriot” painted a dismal picture of Biden’s America: “In a year, we’re not
                         going to be able to buy our own bread, we won’t be able to afford gas for our
                         cars. Our country is going in the hole real fast.”




                         Investigators are now scrambling to track down the Capitol invaders
                         JIM LO SCALZO




                         He hoped for a “true insurgent” to “take out” Biden. “I don’t believe he’s our
                         president. He’s not my president and he definitely won fraudulently,” he said,
                         standing beside a stall selling “Stop the steal” baseball caps.


                         For Bobby, a property developer who travelled from Indiana with his wife and
                         six children for the pro-Trump march, the seizing of the Capitol was the
                         beginning of an uprising. “It’s going to take a shaking to wake up people, you
                         know; yesterday at the Capitol, that there was a small tremor,” he said. “If we
                         were to go into a war situation, I could protect my children more in that aspect
                         than I can from letting their beliefs be threatened by our school systems and by
                         our government.”


                         He added that he was willing to die to “protect his freedoms — if you don’t
                         have that mentality that you’re willing to give up your life for what you believe
                         in, then get the hell out of here”, he said.




        Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 5 of 6 PageID #: 38

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
Trump’s militias say they are armed and ready to defend their freedoms | World | The Sun... Page 6 of 17



                                          Extremism experts have cautioned about a rise in violent clashes in
                                          Washington between Trump loyalists and right-wing groups, such as the Proud
                                          Boys, and left-wing agitators.


                                          “In the case of the Million Militia March these groups, who have agendas to
                                          create disruption, will piggyback and try to create a big tent to bring in as many
                                          protesters as possible, and they tend not to be terribly picky about who joins
                                          the party. Clearly, that’s a concern,” said Jonathan Vick, the North American
                                          representative from the International Network Against Cyber Hate, which
                                          campaigns against extremism online.


                                          Last week’s fatal riot will likely add momentum for further attacks, warned
                                          Vick: “We’re already seeing that the people who, unfortunately, were killed are
                                          now being cast as martyrs, and so that is absolutely fuel for additional violence
                                          and additional actions by people looking for an excuse.”


                                          Other Trump ‘”patriots” were underwhelmed by the president’s speech last
                                          Wednesday and vowed not to return to Washington to fight his corner again.


                                          “It wasn’t anything groundbreaking like he was promising,” said a young
                                          woman waiting for her train home to New Jersey. “I’d hoped he’d walk us
                                          through the next steps more, but he just went over the fraud again and we
                                          already knew all that.”


                                                                    Global politics       US politics       Joe Biden



                                                                                Related articles
     PAID PROMOTIONAL LINKS                                                                                                                                    Promoted by Dianomi




     Transform Your Career in 20 Outrage: Congress set to loot George Gilder Presents Tiny                       Where should you invest             Commission-Free Trades on
     Months
      CRISIS With an Executive
             AMERICA             your 401k/IRA by 30%    by
                                                      CAPITOL  Little Device Set To Boom
                                                               SIEGE                                             $1,000 right now?AMERICA
                                                                                                                           CRISIS                    Stocks, ETFs & Options
     MBA From Columbia           end of month                  in 2021                                                                               Trades. Learn more.
      Capitol invaders were
     Columbia Business School
                              bitter,            Rag-tag
                         Eagle Financial Publications
                                                          activist army firedThe
                                                       George Gilder Wifi 6
                                                                              byMotley Fool
                                                                                       Capitol riotersTradeStation
                                                                                                         say sorry as FBI
      dangerous — and pitifully lost righteousness                                     starts to round them up
      The crowd pulsed with a blend of fury and anticipation.     If clues were needed, the clues were there — writ large,   It had seemed a good idea at the time: storm the US
      From above the protesters, on the scaffolding erected       in open public forums, for all to see. An abundance of     Capitol, swing from the Senate balcony, sit in the vice-
      for the inauguration, a single...    Comments are subject tosocial media posts
                                                                    our community    made before...
                                                                                  guidelines, which can be viewed here.      president’s chair and yell with a...
      January 10 2021, 12.01am GMT                               January 08 2021, 12.00pm GMT                                January 09 2021, 12.00pm GMT
                                           Comments (511)
      Robert Moore                                               Jacqui Goddard, Miami                                       Jacqui Goddard, Miami


                                                                                                                               John Schrader




                                             Newest



                                           J            Add to the conversation...




         Case 3:21-mj-02679 Document 8-1 Filed 01/22/21 Page 6 of 6 PageID #: 39

https://www.thetimes.co.uk/article/trumps-militias-say-they-are-armed-and-ready-to-defen... 1/15/2021
